* Reporter's Note: For decision upon demurrer to petition, see 126 Ohio St. 644.
This cause came on to be heard upon the motion of respondents to strike the amended petition from the files, and was argued by counsel. On consideration whereof it is ordered and adjudged that said motion be, and the same hereby is, sustained; and said relator not desiring to plead further, it is therefore ordered and adjudged that the writ of prohibition prayed for be, and the same hereby is, denied on authority ofSilliman v. Court of Common Pleas of Williams County, 126 Ohio St. 338.
Writ denied.
WEYGANDT, C.J., DAY, ALLEN, STEPHENSON, BEVIS and JONES, JJ., concur.
MATTHIAS, J., not participating. *Page 168 